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                                         UNITED STATES DISTRICT COURT

                                                DISTRICT OF OREGON

                                                 PORTLAND DIVISION

           INDEX NEWSPAPERS LLC, a Washington                     Case No. 3:20-cv-1035-SI
           limited-liability company, dba PORTLAND
           MERCURY; DOUG BROWN; BRIAN
           CONLEY; SAM GEHRKE; MATHIEU                            DECLARATION OF MATHIEU LEWIS-
           LEWIS-ROLLAND; KAT MAHONEY;                            ROLLAND IN SUPPORT OF
           SERGIO OLMOS; JOHN RUDOFF;                             PLAINTIFFS’ MOTION FOR
           ALEX MILAN TRACY; TUCK                                 TEMPORARY RESTRAINING ORDER
           WOODSTOCK; JUSTIN YAU; and those                       AND PRELIMINARY INJUNCTION
           similarly situated,                                    AGAINST DEFENDANTS U.S.
                           Plaintiffs,                            DEPARTMENT OF HOMELAND
                                                                  SECURITY AND U.S. MARSHALS
                   v.                                             SERVICE
           CITY OF PORTLAND, a municipal
           corporation; JOHN DOES 1-60, officers of
           Portland Police Bureau and other agencies
           working in concert; U.S. DEPARTMENT OF
           HOMELAND SECURITY; and U.S.
           MARSHALS SERVICE,
                           Defendants.

           PAGE 1       DECLARATION OF MATHIEU LEWIS-ROLLAND ISO MOTION FOR TRO
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                   I, Mathieu Lewis-Rolland, declare:

                   1.      I am an Oregon resident who lives in the City of Portland. I am a freelance

           photographer and photojournalist who has covered the ongoing Portland protests. I am a plaintiff

           in this case and helped secure a temporary restraining order from the Court protecting journalists

           and legal observers from being targeted by the Portland Police Bureau and other police agencies

           working with PPB. I have also submitted a declaration explaining how federal agents shot me 10

           times in support of Plaintiffs’ motion for a temporary restraining order against the federal agents

           at the protests. If called as a witness, I could, and would, testify competently to the facts below.

                   2.      I covered the protests in downtown Portland on the night of July 20 into the early

           morning of July 21, 2020.

                   3.      I was present in a journalistic capacity. I carried a large Nikon D850 DSLR

           camera attached to a 85mm lens. My cellphone was attached to the hotshoe on top of my camera.

           Because I knew that the Court had ordered the police to stop using violence against journalists

           and legal observers, I wore a t-shirt that said “PRESS” in big block letters on both sides. In

           addition, since federal agents shot me ten times on July 12, I have attached a reflective neon-

           yellow stripe to the outside of my lens, I wear reflective neon-yellow wristbands on both arms,

           and I wear a helmet with reflective stripes attached that says “PRESS” on several sides.

                   4.      At the time the following events took place, I was taking care to remain in a well-

           lit area so that the police could read my shirt, and so that it would be clear I was there only to

           document the protesters and their interaction with police and federal officials. I did not

           participate in the protests.

                   5.      What I witnessed on this night shocked me to my very core. Several times, I saw

           federal agents point live-ammunition lethal weapons into the crowd. Several times, federal

           agents trained their sights on me as I photographed them. Towards the end of the night, federal

           agents shot at me several times, and one threw a tear gas canister directly at my feet. Overall,

           federal agents’ wanton violence last night was the worst I have seen since the protests began.



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                   6.      I arrived downtown around 10:30 p.m. At that time, the atmosphere was relaxed

           and positive. Thousands of protesters were present; the mood was celebratory. A groups of moms

           had linked arms in front of the courthouse. Balloons were in the air.

                   7.      Shortly after midnight federal agents stormed out of the courthouse, shooting

           rubber bullets and tear-gas canisters. They tried to arrest someone outside the courthouse doors

           for no reason that I could discern. The crowd prevented the arrest. In response, an agent

           unholstered his live-ammunition handgun and pointed it at members of the crowd. This is a true

           and correct copy of a photograph I took of him threatening to shoot people with live, lethal

           ammunition:




           PAGE 3       DECLARATION OF MATHIEU LEWIS-ROLLAND ISO MOTION FOR TRO
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                   8.      Later in the night, I captured another image of a federal agent pointing a live-

           ammunition firearm—I believe it is an M4 with a suppressor attachment—at the crowd. This is a

           true and correct copy:




                   9.      I also saw federal agents train their sights on me several times, even though it was

           extremely obvious that I am press. One agent held aim on me for as much as 10 seconds while I




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           yelled that I was press, until he finally decided not to shoot. Several other agents aimed at me as

           well, including one I captured on my camera. This is a true and correct copy of that photograph:




                   10.     In addition, a federal agent fired 8-12 impact rounds directly at me for no reason.

           A few seconds later, he or another federal agent threw a canister of tear gas directly at my feet

           and forced me to retreat and stop reporting on their actions. A true and correct copy of a video I

           took of these events can be accessed at the following URL, about 12 minutes into the video:

           https://facebook.com/story.php?story_fbid=10218746255271156&id=1342929165.

                   11.     After the Court issued an injunction against the City, Portland police officers’

           conduct towards me improved markedly. For example, on the night of July 4, a police officer ran

           at me, yelling at me to disperse. I yelled, “I’m press! I’m press! There’s a restraining order! I

           have a right to be here!” and stood my ground. The officer asked me to move 10 feet away, but

           let me do my job: observing, recording, and reporting on the protesters and police. I have to

           vigorously invoke my rights as a member of the press, but when I do, the police have left me


           PAGE 5        DECLARATION OF MATHIEU LEWIS-ROLLAND ISO MOTION FOR TRO
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           alone multiple times. Also, I have on occasion been allowed to get behind Portland police’s

           skirmish line, because what I was doing was not a threat to them.

                     12.    After the Court issued its injunction against the City, I felt like I could document

           the protests with less fear of being injured by law enforcement. That is no longer true. I would

           like to continue attending and documenting the protests. But I am worried that federal agents will

           continue to target me and possibly injure me again, as they have already done once and

           attempted to do again many times. Based on federal agents’ actions, I just recently spent over a

           thousand dollars on a military-grade gas mask, a type III-A Kevlar vest, and a type III-A helmet,

           which are rated against AR-15 bullets. I have done this because on multiple occasions, I have

           feared for the safety of my life at the hands of federal agents—even when I comply with their

           orders.

                     I declare under penalty of perjury under the laws of United States of America that the

           foregoing is true and correct.



           Dated: July 22, 2020
                                                                               Mathieu Lewis-Rolland




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                           AGAINST FEDERAL DEFENDANTS
